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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                    No. CR S-07-0571 GEB EFB P

12          vs.

13   ARMANDO SANCHEZ,

14                  Movant.                        ORDER

15                                        /

16          Movant is a federal prisoner proceeding pro se with a motion to vacate, set aside,

17   or correct his sentence pursuant to 28 U.S.C. § 2255. On January 28, 2011, respondent filed a

18   motion to dismiss on the grounds that the section 2255 motion is barred by the statute of

19   limitations. The court’s order filed February 10, 2011, set a briefing schedule for disposition of

20   the motion. The order granted movant a period of thirty days in which to file and serve an

21   opposition. The time for filing an opposition has passed and movant has neither filed an

22   opposition nor otherwise responded to the court’s order.

23          A responding party’s failure “to file written opposition or to file a statement of no

24   opposition may be deemed a waiver of any opposition to the granting of the motion and may

25   result in the imposition of sanctions.” L. R. 230(l). Failure to comply with any order or with the

26   Local Rules “may be grounds for imposition of any and all sanctions authorized by statute or

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 1   Rule or within the inherent power of the Court.” L. R. 110. The court may dismiss this action

 2   with or without prejudice, as appropriate, if a party disobeys an order or the Local Rules. See

 3   Ferdik v. Bonzelet, 963 F.2d 1258, 1263 (9th Cir. 1992) (district court did not abuse discretion in

 4   dismissing pro se plaintiff’s complaint for failing to obey an order to re-file an amended

 5   complaint to comply with Federal Rules of Civil Procedure); Carey v. King, 856 F.2d 1439,

 6   1440-41 (9th Cir. 1988) (dismissal for pro se plaintiff’s failure to comply with local rule

 7   regarding notice of change of address affirmed).

 8          Accordingly, it is hereby ORDERED that, within twenty-one days of the date of this

 9   order, movant shall file either an opposition to the motion to dismiss or a statement of no

10   opposition. Failure to comply with this order may result in a recommendation that movant’s

11   section 2255 motion be dismissed.

12   DATED: April 5, 2011.

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